          Case 1:17-cv-00049-RC Document 63 Filed 11/15/18 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                               )
FUTURE INCOME PAYMENTS, LLC,                   )
                                               )
       Plaintiff,                              )
                                               )
               v.                              )
                                                            Case No. 1:17-cv-00049-RC
                                               )
CONSUMER FINANCIAL PROTECTION                  )
BUREAU et al.,                                 )
                                               )
       Defendants.                             )
                                               )

            PLAINTIFF’S NOTICE OF DISMISSAL WITHOUT PREJUDICE

       Plaintiff Future Income Payments, LLC, hereby dismisses this action without prejudice

under Federal Rule of Civil Procedure 41(a)(1)(A)(i).

       This the 15th day of November, 2018.

                                                   WOMBLE BOND DICKINSON (US) LLP
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         Case 1:17-cv-00049-RC Document 63 Filed 11/15/18 Page 2 of 2



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 15th day of November, 2018, a copy of the

foregoing document was served via ECF on the following:

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                                                  /s/ Cathy A. Hinger
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